     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 1 of 10

  ORIGINAL
Approved:
                                                         EORGE D. TURNER
            Assistant United States Attorneys

Before:     HONORABLE KATHARINE H. PARKER
            United States Magistrate Judge
            Southern District of New York

                - - - - - - - - - -     x      l 7MAG 9200
UNITED STATES OF AMERICA                     COMPLAINT

                - v. -                       Violations of
                                             18 u.s.c. §§ 2339B,
AKAYED ULLAH,                                2332a, 2332f, 844 (i),
                                             924 ( c) & 2
                         Defendant.
                                             COUNTY OF OFFENSE:
                                             NEW YORK
- - - - - - - - - - - - - - -           x
SOUTHERN DISTRICT OF NEW YORK, ss.:

          JOSEPH D. CERCIELLO, being duly sworn, deposes and says
that he is a Special Agent with the Department of Homeland
Security, Homeland Security Investigations ("HSI"), and a member
of the Federal Bureau of Investigation's New York Joint Terrorism
Task Force ("JTTF"), and charges as follows:

                                 COUNT ONE

   (Provision of Material Support and Resources to a Designated
                 Foreign Terrorist Organization)

          1.    On or about December 11, 2017, in the Southern
District of New York and elsewhere, AKAYED ULLAH, the defendant,
did knowingly and intentionally provide, and attempt to provide,
"material support or resources," as that term is defined in Title
18, United States Code, Section 2339A (b) , namely, services and
personnel    (including   himself),  to    a   foreign   terrorist
organization, namely, the Islamic State of Iraq and al-Sham
("ISIS"), which at all relevant times was designated by the
Secretary of State as a foreign terrorist organization pursuant to
Section 219 of the Immigration and Nationality Act, knowing that
ISIS was a designated foreign terrorist organization (as defined
in Title 18, United States Code, Section 2339B(g) (6)), that ISIS
engages and has engaged in terrorist activity (as defined in
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 2 of 10




section 212 (a) (3) (B) of the INA), and that ISIS engages and has
engaged in terrorism (as defined in section 140 (d) (2) of the
Foreign Relations Authorization Act, Fiscal Years 1988 and 1989),
in violation of Title 18, United States Code, Section 2339B(a) (1),
and (i) the offense occurred in whole or in part within the United
States, and (ii) the offense occurred in and affected interstate
and foreign commerce, to wit, ULLAH detonated and attempted to
detonate an improvised explosive device in the vicinity of the
Port Authority Bus Terminal in New York, New York.

      (Title 18, United States Code, Sections 2339B and 2.)
                                COUNT TWO

                (Use of Weapons of Mass Destruction)

          2.    On or about December 11, 2017, in the Southern
District of New York and elsewhere, AKAYED ULLAH, the defendant,
acting without lawful authority, did use and attempt to use weapons
of mass destruction - namely, destructive devices as defined by 18
U.S.C. § 921 - against persons and property within the United
States, and (i) the mail and facilities of interstate and foreign
commerce, including mobile telephones, were used in furtherance of
the offense, (ii) such property was used in an activity that
affects interstate and foreign commerce, (iii) the perpetrator
traveled in interstate and foreign commerce in furtherance of the
offense, and (iv) the offense and the results of the offense
affected interstate and foreign commerce, to wit, ULLAH detonated
and attempted to detonate an improvised explosive device in the
vicinity of the Port Authority Bus Terminal in New York, New York.

     (Title 18, United States Code, Sections 2332a (a) (2) (A),
             ( a) ( 2 ) ( B) , (a) ( 3 ) ( C) , (a) ( 2 ) ( D) and 2 . )

                               COUNT THREE

                   (Bombing a P1ace of Pub1ic Use)

          3.    On or about December 11, 2017, in the Southern
District of New York and elsewhere, AKAYED ULLAH, the defendant,
did knowingly and unlawfully deliver, place, discharge, and
detonate an explosive and other lethal device in, into, and against
a place of public use, and did attempt to do the same, with the
intent to cause death and serious bodily injury, and with the
intent to cause extensive destruction of such a place, and where
such destruction was likely to result in major economic loss, and
the offense was committed in an attempt to compel the United States
to do and abstain from doing any act, to wit, ULLAH detonated and


                                     2
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 3 of 10




attempted to detonate an improvised explosive device in the
vicinity of the Port Authority Bus Terminal in New York, New York.

     (Title 18, United States Code, Sections 2332f(a) (1) (A),
                  (a)(l)(B), (b)(l)(F) and2.)

                              COUNT FOUR

     (Destruction of Property by Means of Fire or Exp1osive)

          4.   On or about December 11, 2017, in the Southern
District of New York and elsewhere, AKAYED ULLAH, the defendant,
willfully and knowingly did maliciously damage and destroy, and
attempt to damage and destroy, by means of fire and an explosive,
a building, vehicle, and other real and personal property used in
interstate and foreign commerce, and in any activity affecting
interstate and foreign commerce, to wit, ULLAH detonated and
attempted to detonate an improvised explosive device in the
vicinity of the Port Authority Bus Terminal in New York, New York.

      (Title 18, United States Code, Sections 844(i) and 2.)

                              COUNT FIVE

              (Use of a Destructive Device During and
              in Furtherance of a Crime of Vio1ence)

          5.   On or about December 11, 2017, in the Southern
District of New York and elsewhere, AKAYED ULLAH, the defendant,
during and in relation to a crime of violence for which he may be
prosecuted in a court of the United States, to wit, the offense
charged in Counts One, Two, Three, and Four of this Complaint,
willfully and knowingly did use and carry a destructive device, to
wit, an improvised explosive device, inside a subway terminal in
the vicinity of the Port Authority Bus Terminal in New York, New
York.

(Title 18, United States Code, Section 924 (c) (1) (A) and (B) (ii).)

          The bases for my knowledge and the foregoing          charges
are, in part, as follows:

          6.    I am a Special Agent with HSI and a member of the
FBI's New York-based JTTF, and I have been personally involved in
the investigation of this matter. This affidavit is based in part
upon my conversations with law enforcement agents and other people,
and my examination of reports and records. Because this affidavit


                                   3
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 4 of 10




is being submitted for the limited purpose of establishing probable
cause, it does not include all of the facts that I have learned
during the course of my investigation.      Where the contents of
documents and the actions, statements, and conversations of others
are reported herein, they are reported in substance and in part,
except where otherwise indicated.

                         Background on ISIS

          7.   Based on my training, experience, and review of
publicly available materials, I understand the following:

                a.   On October 15, 2 004, the U.S. Secretary of
State designated al Qaeda in Iraq ("AQI"), then known as Jam' at al
Tawhid wa'al-Jihad, as a Foreign Terrorist Organization ("FTO")
under Section 219 of the INA and as a Specially Designated Global
Terrorist under section l(b) of Executive Order 13224. On May 15,
2014, the Secretary of State amended the designation of AQI as an
FTO under Section 219 of the INA and as a Specially Designated
Global Terrorist entity under section l(b) of Executive Order 13224
to add the alias Islamic State of Iraq and the Levant ("ISIL") as
its primary name.  The Secretary also added the following aliases
to the FTO listing: the Islamic State of Iraq and al-Sham ("ISIS"
- which is how the FTO will be referenced herein), the Islamic
State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-'Iraq wa-sh-
Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for
Media Production. In an audio recording publicly released on June
29, 2014, ISIS announced a formal change of its name to the Islamic
State.   On September 21, 2015, the Secretary added the following
aliases to the FTO listing: Islamic State, ISIL, and ISIS.       To
date, ISIS remains a designated FTO.

                b.   The U.S. State Department has reported that,
among other things, ISIS has committed systematic abuses of human
rights   and    violations   of   international    law,   including
indiscriminate killing and deliberate targeting of civilians, mass
executions and extrajudicial killings, persecution of individuals
and communities on the basis of their religion, nationality, or
ethnicity, kidnapping of civilians, forced displacement of Shi a
communities and minority groups, killing and maiming of children,
rape, and other forms of sexual violence. According to the State
Department, ISIS has recruited thousands of foreign fighters from
across the globe to assist with its efforts to expand its so-
called caliphate in Iraq, Syria, and other locations in Africa and
the Middle East, and has leveraged technology to spread its violent
extremist ideology and for incitement to commit terrorist acts.



                                   4
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 5 of 10




                c.   On or about September 21, 2014, now-deceased
ISIS spokesperson Abu Muhammad al-Adnani called for attacks
against    citizens-civilian   or   military-of   the   countries
participating in the United States-led coalition against ISIS.

           8.  Based on my training and experience, my personal
participation in this and other investigations involving ISIS, and
my conversations with other law enforcement agents who have been
involved in ISIS-related investigations, I have learned the
following:

               a.   To gain supporters, ISIS, like many other
terrorist organizations, spreads its message using social media,
Internet platforms, and email. Using these platforms, ISIS posts
and circulates videos and updates of events in Syria, Iraq, and
other ISIS-occupied areas, in English and Arabic, as well as other
languages, to draw support to its cause.

                b.   ISIS has encouraged followers who are unable
to travel to the Middle East to instead conduct attacks in other
countries. For example, on or about March 31, 2015, the user of
Twitter account @AbuHu55ain_, believed to be used at the time by
an ISIS member located in Syria, tweeted: "Lone Wolfs Rise Up";
"If you can't make the hijrah,         dont sit at home & give
up .      ignite a bomb, stab a kaffir, or shoot a poli ti can!"; "if
you came here, you'd be on the frontline fighting, right? But u
couldn't come here, so why not fight the kuffar over there?"; and
"i always see in the media brothers getting caught making hijrah,
brothers know that your jihad is not over just because you got
stopped." 1

               c.   ISIS has disseminated a wide variety of
recruiting materials and propaganda through social media. These
include photographs and videos depicting ISIS's activities,
including beheadings and other atrocities, as well as audio and
video lectures by members of ISIS and members of other Islamic
extremist organizations.




  Based on my training, experience, and participation in this
investigation, I understand that "kaffir" and "kuffar" are Arabic
terms generally meaning "disbelievers" (i.e., non-Muslims) , and
that "hijrah" (or "hijra") is an Arabic term normally used to refer
to migration, but which is also used by ISIS supporters to refer
to traveling to the Middle East to engage in jihad.


                                   5
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 6 of 10




                   The December 11, 2017 Attack

          9.   Based on my participation in this investigation,
conversations with other participants in the investigation, review
of evidence obtained during the investigation, and review of
reports prepared by others, I have learned, among other things,
the following:

               a.    On     or  about   December   11,  2017,    at
approximately 7: 2 0 a. m., an improvised explosive device ( "IED")
detonated inside a subway terminal (the "Subway Terminal") in or
around the New York Port Authority Bus Terminal located at West
42nd Street and Eighth Avenue in New York, New York (the "December
11 Attack").

                b.   Shortly after the blast, members of the Port
Authority Police Department located an individual later identified
as AKAYED ULLAH, the defendant, lying on the ground in the vicinity
of the explosion.

               c.    ULLAH was subsequently taken into custody by
law enforcement.     During the course of ULLAH's arrest,     law
enforcement officers located on his person and in the surrounding
area what appeared to be the components of an exploded pipe bomb
(the "Pipe Bomb").   Specifically, law enforcement located, among
other items, the following:

                     i.   A nine-volt battery inside ULLAH's pants
pocket;

                    ii. Wires   connected      to   the   battery      and
running underneath ULLAH's jacket;

                   iii.    Two plastic zip ties underneath ULLAH's
jacket;

                    iv.  Several  fragments  of   a       metal      pipe,
including pieces of a metal end cap, on the ground;

                     v.  The remnants of what       appeared   to    be   a
Christmas tree lightbulb attached to wires;

                    vi.    Wires and wire connectors;

                   vii.    Metal screws; and




                                   6
        Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 7 of 10




                      viii.   Pieces of what appear to be plastic zip-
ties.

           10.  I have reviewed surveillance footage dated December
11, 2017, obtained from closed circuit television ("CCTV") cameras
inside the Subway Terminal. At approximately 7:18 a.m., the video
depicts multiple individuals walking inside the Subway Terminal.
Officers who later spoke with AKAYED ULLAH, the defendant, see
infra Paragraph 11, identified one of those individuals as ULLAH.
Seconds later, the footage shows what appears to be an explosion
inside the Subway Terminal. After the explosion, ULLAH appears to
fall to the ground. Screenshots from the video are depicted below.
ULLAH is identified by the arrow in the first screenshot.




                                      7
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 8 of 10




          The Defendant's Statements to Law Enforcement

          11. After AKAYED ULLAH, the defendant, was taken into
law enforcement custody, he was transported to Bellevue Hospital.
While he was at Bellevue Hospital, law enforcement officers
interviewed ULLAH, who was read and waived his Miranda rights
verbally and in writing.     Based on my conversations with law
enforcement officers who participated in that interview, I have
learned that ULLAH stated, in substance and in part, and among
other things, the following:

               a.   ULLAH constructed the Pipe Bomb and carried
out the December 11 Attack.

               b.   ULLAH was inspired by ISIS to carry out the
December 11 Attack.  ULLAH stated, among other things, "I did it
for the Islamic State."

               c.   ULLAH resides in a particular apartment in
Brooklyn, New York (the "Residence").  ULLAH built the Pipe Bomb
in the Residence approximately one week before carrying out the
December 11 Attack.  He began compiling the materials he used to




                                   8
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 9 of 10




construct the Pipe Bomb approximately two to three weeks before
carrying out the attack.

               d.   The Pipe Bomb was comprised of, among other
things, a metal pipe, which ULLAH filled with explosive material
that he created.  ULLAH used Christmas tree lights, wiring, and a
nine-volt battery to cause the detonation of the Pipe Bomb. ULLAH
filled the Pipe Bomb with metal screws, which he believed would
cause maximum damage. ULLAH used zip ties to secure the Pipe Bomb
to his body.

               e.   ULLAH carried out the December 11 Attack in
part because of the United States Government's policies in, among
other places, the Middle East.   One of ULLAH's goals in carrying
out the December 11 Attack was to terrorize as many people as
possible.  He chose to carry out the attack on a workday because
he believed that there would be more people.

                f.   ULLAH's radicalization began in at least
approximately 2014.     ULLAH viewed pro-ISIS materials online,
including a video instructing, in substance, that if supporters of
ISIS were unable to travel overseas to join ISIS, they should carry
out attacks in their homelands. He began researching how to build
IEDs on the Internet approximately one year ago.

               g.   On the morning of December 11, 2017, on the
way to carrying out the December 11 Attack, ULLAH posted a
statement on his Facebook account stating, "Trump you failed to
protect your nation."    Based on my training and experience, I
understand ULLAH to have been referring to the current President
of the United States.     ULLAH also posted a statement that he
believed would be understood by members and supporters of ISIS to
convey that ULLAH carried out the attack in the name of ISIS.

         Items Recovered from the Defendant's Residence

          12. Based on my participation in this investigation,
conversations with other participants in the investigation, review
of evidence obtained during the investigation, and review of
reports prepared by others, I have learned, among other things,
that on or about December 11, 2017, law enforcement officers
conducted a search of the Residence pursuant to a judicially
authorized search warrant. In the course of the search, law
enforcement recovered, among other items, the following:

                a.   Metal pipes;



                                    9
     Case 1:18-cr-00016-RJS Document 1 Filed 12/12/17 Page 10 of 10




               b.   Pieces of wire and fragments of what appear to
be Christmas tree lights;

               c.    Multiple screws consistent with        the    screws
recovered at the    scene of the December 11 Attack         (see    supra
Paragraph 9); and

               d.    A passport in the name of AKAYED ULLAH,          the
defendant, with multiple handwritten notations, including:             "O
AMERICA, DIE IN YOUR RAGE.u

          WHEREFORE deponent prays that a warrant be issued for
the arrest of AKAYED ULLAH, the defendant, and that he be arrested
and imprisoned, or bailed, as the case may be.




                           Special Agent Joseph D. Cerciello
                           Homeland Security Investigations
                           Joint Terrorism Task Force


Sworn to before me this
12th day of December, 2017




                                   10
